Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.303 Filed 11/24/14 Page 1 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.304 Filed 11/24/14 Page 2 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.305 Filed 11/24/14 Page 3 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.306 Filed 11/24/14 Page 4 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.307 Filed 11/24/14 Page 5 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.308 Filed 11/24/14 Page 6 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.309 Filed 11/24/14 Page 7 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.310 Filed 11/24/14 Page 8 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.311 Filed 11/24/14 Page 9 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.312 Filed 11/24/14 Page 10 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.313 Filed 11/24/14 Page 11 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.314 Filed 11/24/14 Page 12 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.315 Filed 11/24/14 Page 13 of 14
Case 2:14-cv-13833-GCS-MJH ECF No. 15-14, PageID.316 Filed 11/24/14 Page 14 of 14
